Case: 1:23-cv-01597-PAG Doc #: 12-2 Filed: 11/03/23 1 of 1. PageID #: 105




        On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                        the District of Columbia Bar does hereby certify that



                       Gene Patrick Hamilton
      was duly qualified and admitted on April 15, 2022 as an attorney and counselor entitled to
      practice before this Court; and is, on the date indicated below, an Active member in good
                                          standing of this Bar.




                                                                              In Testimony Whereof,
                                                                          I have hereunto subscribed my
                                                                         name and affixed the seal of this
                                                                                Court at the City of
                                                                      Washington, D.C., on November 03, 2023.




                                                                               JULIO A. CASTILLO
                                                                                Clerk of the Court




                                                         Issued By:


                                                                            David Chu - Director, Membership
                                                                           District of Columbia Bar Membership




 For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                     memberservices@dcbar.org.
